Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 1 of 32 Page ID
                                 #:2601


  1   Lara J. Dueppen, Bar No. 259075
      LDueppen@perkinscoie.com
  2   PERKINS COIE LLP
      1888 Century Park East, Suite 1700
  3   Los Angeles, CA 90067-1721
      Telephone: 310.788.9900
  4   Facsimile: 310.788.3399
  5   Jonathan M. James (admitted pro hac vice)
      JJames@perkinscoie.com
  6   PERKINS COIE LLP
      2901 North Central Avenue, Suite 2000
  7   Phoenix, AZ 85012-2788
      Telephone: 602.351.8000
  8   Facsimile: 602.648.7000
      Amanda Tessar (admitted pro hac vice)
  9   ATessar@perkinscoie.com
      PERKINS COIE LLP
10    1900 Sixteenth Street, Suite 1400
      Denver, CO 80202-5255
11    Telephone: 303.291.2300
      Facsimile: 303.291.2400
12
      ATTORNEYS FOR PLAINTIFFS
13    (Additional Counsel Listed on Signature Page)
14                         UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
16
17    MACOM TECHNOLOGY                          Case No. CV 16-02859 CAS (PLAx)
      SOLUTIONS HOLDINGS, INC., a
18    Delaware corporation, and                 PLAINTIFFS’ OPPOSITION TO
      NITRONEX, LLC, a Delaware limited         INFINEON TECHNOLOGIES
19    liability company,                        AMERICAS CORP.’S MOTION TO
20                                              DISMISS PLAINTIFFS’ FIRST
                        Plaintiffs,             AMENDED COMPLAINT
21
            v.
22                                              REDACTED VERSION
      INFINEON TECHNOLOGIES AG, a
23    corporation organized under the laws of   OF DOCUMENT PROPOSED TO BE
      Germany, and INFINEON                     FILED UNDER SEAL
24    TECHNOLOGIES AMERICAS
25    CORP., a Delaware corporation,
26                      Defendants.
27
28

                                                      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                             MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 2 of 32 Page ID
                                 #:2602


  1                                                 TABLE OF CONTENTS
  2                                                                                                                             Page
  3   INTRODUCTION ........................................................................................................... 1
  4   STATEMENT OF FACTS ................................................................................................ 3
  5   LEGAL STANDARDS .................................................................................................... 5
  6       A. Motion to Dismiss For Lack Of Subject Matter Jurisdiction ....................... 5
  7       B.     Motion To Dismiss For Failure To State A Claim ....................................... 6
  8   ARGUMENT ................................................................................................................. 7
          A. MACOM’s Fifth Claim For Relief Properly States A Claim for
  9
             Declaratory Judgment That MACOM’s GaN-on-Si RF Products
10           Do Not Infringe The Nitronex Patents
                      ........................................................................................................ 7
11
                 1.      Infineon’s Termination
12
                                         Has Created An Active And Immediate
13                       Infringement Controversy Between MACOM And Infineon............... 8
14               2.      MACOM Does Not Need To, But Has, Pleaded That It
                         Practices The Nitronex Patents ........................................................... 12
15
                 3.      The Cases Americas Cites Do Not Support Its Position..................... 14
16
                 4.      MACOM’s Complaint Clearly Identifies The Products At
17                       Issue..................................................................................................... 16
18        B.     MACOM’s Complaint States A Claim That Infineon’s GaN-on-Si
                 RF Activities Breached The License Agreement ....................................... 18
19
                 1.
20
21                                            ....................................................................................... 19
22               2.
                                                                                                                    ............... 21
23
                 3.      Americas’ “Offer To Sell” Arguments Ignore Both The Stage
24                       Of This Case And The Allegations Of MACOM’s Complaint .......... 23
25               4.
26
                                ..................................................................................................... 24
27
      CONCLUSION............................................................................................................. 25
28

                                                                 -i-            MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                                       MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 3 of 32 Page ID
                                 #:2603


  1                                      TABLE OF AUTHORITIES
  2
      CASES
  3
      ABB, Inc. v. Cooper Indus., LLC,
  4     635 F.3d 1345 (Fed. Cir. 2011) ......................................................... 6, 9, 10, 11
  5   Anderson v. Fishback,
  6     No. 05-cv-729, 2009 WL 2423327 (E.D. Cal. Aug. 6, 2009) ........................... 6
      Arkema Inc. v. Honeywell Int’l, Inc.,
  7
         706 F.3d 1351 (Fed.Cir.2013) ........................................................................... 6
  8
      Ashcroft v. Iqbal,
  9      556 U.S. (2009) ........................................................................................... 7, 22
10    Bangura v. Hansen,
        434 F.3d 487 (6th Cir. 2006) ............................................................................. 6
11
      Bell Atl. Corp. v Twombly,
12       550 U.S. 544 (2007) .......................................................................... 6, 7, 17, 24
13    Blizzard Entm’t Inc. v. Ceiling Fan Software LLC,
14       28 F.Supp.3d 1006, 1017 (C.D. Cal. 2013) ..................................................... 19
      Excelstor Tech., Inc. v. Papst Licensing GMBH & Co.,
15
         133 F.Supp.3d (D. Mass. 2015)........................................................... 15, 16, 18
16    Esoterix Genetic Labs. LLC v. Qiagen, Inc.,
17       2010 WL 2560481 (N.D. Cal. June 22, 2010) ................................................ 23
18    Essai, Inc. v. Delta Design, Inc.,
         2013 WL 624393, at *3 (N.D. Cal. Dec. 3, 2013) .................................... 16, 18
19
      Hedges v. U.S.,
20      404 F.3d 744 (3d. Cir. 2005) ............................................................................. 6
21    Hewlett-Packard Co. v. Acceleron LLC,
        587 F.3d 1358 (Fed. Cir. 2009) ....................................................................... 11
22
      In re Bill of Lading Transmission & Processing Sys. Patent Litig.,
23
          681 F.3d 1323 (Fed. Cir. 2012.) ........................................................................ 7
24    K-Tech Telecomm’ns, Inc. v. Time Warner Cable, Inc.,
25       714 F.3d 1277 (Fec. Cir. 2013) ....................................................................... 17
26    Mark A. Lemley, Patenting Nanotechnology, 58 Stan L. Rev. 601,
        613-614 (2005) ................................................................................................ 21
27
      MedImmune, Inc. v. Genentech, Inc.,
28      549 U.S. 118 (2007) ................................................................................. passim
                                                          -iii-            MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                                  MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 4 of 32 Page ID
                                 #:2604


  1   MEMC Elec. Materials, Inc. v. Mitsubishi Materials Silicon Corp.,
  2     420 F.3d 1369 (Fed. Cir. 2005) ....................................................................... 24
  3   Microsoft Corp. v. DataTern,
        755 F.3d 899 (Fed. Cir. 2014) ................................................................... 17, 18
  4
      Panavise Prods., Inc. v. Nat’l Prods., Inc.
  5     306 F. App’x 570 (Fed. Cir. 2009) ............................................................ 14, 15
  6   SanDisk Corp. v. STMicroelectronics, Inc.,
         480 F.3d 1372 (Fed. Cir. 2007) ................................................................... 6, 10
  7
      Unisense Fertilitech AS v. Auxogyn, Inc.
  8     896 F.Supp.2d 822 (N.D. Cal. 2012)............................................................... 15
  9   Wing Shing Products, Ltd. v. Simatalex Man. Co.,
10      479 F.Supp.2d 388 (S.D.N.Y. 2007) ............................................................... 25

11    Wistron Corp. v. Phillip M. Adams & Associates,
        2011 WL 165446 (N.D. Cal. April 28, 2011) ................................................. 18
12
      Xilinx, Inc. v. Invention Inv. Fund I LP,
13       2011 WL 3206686 (ND. Cal. July 27, 2011) .................................................. 18
14    STATUTES
15    35 U.S.C §271....................................................................................................... 24
16    OTHER AUTHORITIES
17    Federal Rule of Civil Procedure 8(a)(2) ....................................................... 6, 7, 18
18    Federal Rule of Civil Procedure 12(b) ................................................... 5, 7, 17, 23
19
20
21
22
23
24
25
26
27
28
                                                              -iv-         MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                                  MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 5 of 32 Page ID
                                 #:2605


  1                   TABLE OF ABBREVIATIONS AND CONVENTIONS
  2
         ABBREVIATION                               MEANING
  3
        AG                   Defendant Infineon Technologies AG
  4
  5     Americas             Defendant Infineon Technologies Americas Corp.

  6     Citation             All internal citations are omitted.
        Convention
  7
  8     Complaint            MACOM’s First Amended Complaint, ECF No. 65

  9     Emphasis             All emphasis is added, unless otherwise noted.
        Convention
10
11      FAC                  MACOM’s First Amended Complaint, ECF No. 65
12      GaN-on-Si            Gallium Nitride on Silicon—a different and
13                           competing technology to GaN-on-SiC

14      GaN-on-SiC           Gallium Nitride on Silicon Carbide—a different and
                             competing technology to GaN-on-Si
15
16      Infineon             Defendant Infineon Technologies AG and Defendant
                             Infineon Technologies Americas Corp., collectively
17
        IR                   International Rectifier—the predecessor to Americas
18
19      MACOM                Plaintiffs MACOM Technology Solutions Holdings,
                             Inc. and Nitronex, LLC, collectively, unless the
20                           context dictates otherwise
21
        Nitronex             Nitronex Corporation, the predecessor to Nitronex
22                           LLC, unless the context dictates that Nitronex LLC is
23                           referenced

24      Quotation            All internal quotation marks from citations are
        Convention           omitted.
25
26
27
28

                                        -iv-        MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                           MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 6 of 32 Page ID
                                 #:2606


  1                                      INTRODUCTION
  2         Infineon Technologies Americas Corp. (“Americas”) makes a narrow motion
  3   to dismiss. It makes no argument for dismissal of MACOM’s First, Third, Fourth,
  4   Sixth, and Seventh Claims for Relief. Instead, Americas’ motion addresses only
  5   two of MACOM’s seven claims against it: the Second and Fifth Claims. For those
  6   claims, Americas strains to identify supposed technical failures in MACOM’s
  7   pleadings. But the alleged defects to which Americas points either do not apply to
  8   the claims actually asserted and/or cannot be reconciled with the detailed factual
  9   allegations in MACOM’s 60-page Complaint.
10          MACOM’s Fifth Claim seeks a declaration that MACOM’s GaN-on-Si RF
11    products do not infringe the Nitronex Patents for the simple reason that MACOM is
12    licensed to make and sell those products. Americas argues—notwithstanding its
13    announced termination of MACOM’s license—there is no “actual controversy” as
14    to whether MACOM’s products infringe. But the entire point of a patent license is
15    so that licensee can take comfort that it is not under threat of an infringement suit.
16          The circumstances of the termination here create a case or controversy
17    supporting federal declaratory judgment jurisdiction. As detailed in MACOM’s
18    Complaint, Nitronex (MACOM’s predecessor) pioneered the technology embodied
19    in the foundational Nitronex Patents for use its in own GaN-on-Si products and then
20
21
22
23
24
25          MACOM acquired Nitronex in 2014 precisely to: gain access to Nitronex’s
26    GaN-on-Si RF technology,
27                                                                  and “ensure that its
28    GaN-on-Si RF products would never be the subject of infringement allegations

                                              -1-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 7 of 32 Page ID
                                 #:2607


  1   under the Nitronex Patents.” [FAC ¶210.] Americas’ suggestion that terminating
  2   the License Agreement does not put MACOM under threat of suit (which,
  3   incidentally, is no longer the test for declaratory judgment jurisdiction) entirely
  4   ignores the context of the parties’ relationship, the Nitronex Patents, and the
  5   License Agreement. It is also inconsistent with threats that Infineon has already
  6   made against MACOM’s GaN-on-Si wafer supplier, as described in the Complaint.
  7         Under these circumstances, Americas’ contention that MACOM
  8
  9                                          Indeed, the very fact that MACOM brought
10    this suit reinforces what is obvious from the Complaint: MACOM is practicing one
11    or more Nitronex Patents
12                                                             This is the very definition of
13    a case or controversy that supports declaratory judgment jurisdiction.
14          Americas’ arguments for MACOM’s Second Claim—a claim that Infineon
15    breached the License Agreement
16         —fare no better. In seeking dismissal, Americas pretends that MACOM’s
17    breach claim is something that it is not: a patent infringement claim by MACOM
18    against it. Having set up that straw man, Americas then attempts to impose all the
19    technical and geographic requirements of a traditional patent infringement claim on
20    MACOM. But Americas provides no support for this approach,
21                                                                                Even if
22    Americas’ assertions that MACOM was required to allege patent infringement were
23    credited, however, MACOM has met this standard. MACOM’s Complaint recites
24    ample facts to raise plausible (indeed, highly probable) inferences on this issue,
25    including both that Americas (a U.S. company with California facilities) is
26    designing and developing (i.e., using) and marketing (i.e., offering to sell)
27                                                                    and also that the
28    Nitronex Patents are foundational—

                                              -2-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 8 of 32 Page ID
                                 #:2608


  1                                                    . Moreover, the timing of
  2   Infineon’s actions, as detailed in the Complaint, creates a reasonable inference that
  3   Infineon is practicing the Nitronex Patents;
  4
  5                                                                                     .
  6                                  STATEMENT OF FACTS
  7         As further set forth in MACOM’s detailed Complaint, MACOM and its
  8   predecessor (Nitronex) have long had a business relationship with Infineon’s
  9   predecessor (IR) relating to GaN-on-Si products and technologies. [See FAC ¶¶2-
10    3, 64-78, 97-98.] Nitronex was a pioneer in GaN-on-Si technology, having devoted
11    its research and development (and patenting) efforts towards GaN-on-Si
12    technologies since its founding as a company in 1999. [Id. ¶¶40, 51.]
13          When IR wanted to get into GaN-on-Si as early as 2004, it partnered with
14    Nitronex to learn this budding technology. [See id. ¶¶67-68.] Under the terms of a
15    2004 agreement,
16
17
18
19                                          . [Id. ¶¶67, 71-75.]
20          When Nitronex needed another infusion of cash in 2010, the Nitronex-IR
21    relationship evolved. [Id. ¶¶77-78.] Specifically, IR purchased the Nitronex
22    Patents and,
23
24
25
26
27
28

                                             -3-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                              MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 9 of 32 Page ID
                                 #:2609


  1
  2
  3
  4          MACOM acquired Nitronex in 2014, thus acquiring Nitronex’s license and
  5   products. [Id. ¶¶99-105.] As explained in Paragraph 210 of the Complaint,
  6   “MACOM acquired Nitronex … to: provide MACOM with access to Nitronex’s
  7   fundamental and innovative GaN-on-Si technologies for use in RF applications;
  8   enhance MACOM’s development of GaN-on-Si RF products and process
  9   technology;
10
11               and ensure that its GaN-on-Si RF products would never be the subject
12    of infringement allegations under the Nitronex Patents.”
13
14
15
16           Things were amicable between MACOM and IR until Infineon acquired IR
17    in early 2015. [Id. ¶105.] Notably, Infineon acquired IR to get access to IR’s
18                  GaN-on-Si technologies. [Id. ¶¶107-108.] After the acquisition,
19    Infineon almost immediately began attempts to disrupt and/or to renegotiate the
20    parties’ relationship, including the License Agreement,
21                                                       [Id. ¶¶109, 112-113.]
22           MACOM’s supplier of the GaN-on-Si wafers used in MACOM’s GaN-on-Si
23    RF products is a company called IQE. 1
24                                                    IQE to supply these wafers to
25    MACOM. [FAC ¶114.] Immediately after closing the acquisition of IR (and,
26
27    1
          MACOM’s Complaint did not identify the supplier. For ease of reference only,
28        MACOM does so here; that identity does not affect any of the arguments above.
                                              -4-     MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                             MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 10 of 32 Page ID
                                  #:2610


  1   tellingly, more than one year after the public announcement of the MACOM/IQE
  2   relationship), Infineon sent IQE a letter attacking IQE’s rights to supply to
  3   MACOM. Specifically, the letter complained of the potential “proliferation of
  4   [Infineon’s] patented technology” and asked IQE to discuss “the legal basis upon
  5   which [it] intends to operate.” [See ECF No. 92-4, Ex. 2; FAC ¶116.] In other
  6   words, the letter—although it did not identify any particular patents, products, or
  7   geographies—was a thinly-veiled assertion that IQE (and therefore MACOM) was
  8   infringing Infineon’s (i.e., Nitronex’s) patents.
  9         Then,
 10                                           Infineon changed gears. It repeatedly
 11   attempted to renegotiate the IR-Nitronex agreements, trying to
 12                                                         Id. ¶¶4-5,119-120, 124-129.]
 13   After MACOM refused to do so, Infineon purported to terminate MACOM’s
 14   license. [Id. ¶¶4-5, 141-150.] MACOM filed its original complaint soon thereafter.
 15   [See ECF Nos. 1, 13.] MACOM then uncovered evidence that Infineon, as feared
 16
 17                                                                   [FAC ¶¶8, 155-164,
 18   184.] MACOM amended its complaint based on these new facts, adding a new
 19   claim for relief (i.e., its Second Claim for Relief). [Id. ¶¶8, 164, 177-187.]
 20                                    LEGAL STANDARDS
 21   A.    Motion to Dismiss For Lack Of Subject Matter Jurisdiction
 22         To satisfy the requirement for federal subject matter jurisdiction and defeat a
 23   motion under Federal Rule of Civil Procedure 12(b)(1), a patent declaratory
 24   judgment plaintiff must demonstrate a substantial and actual controversy exists
 25   between the parties that is sufficiently immediate and real to warrant a declaratory
 26   judgment. See MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007).
 27   This test replaced the old “reasonable apprehension of suit” previously used to
 28   determine whether declaratory judgment jurisdiction would lie. See id. at 122, 132

                                              -5-         MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                 MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 11 of 32 Page ID
                                  #:2611


  1   n.1. The law is crystal clear that declaratory judgment jurisdiction can lie outside
  2   of situations where a patent owner has made express accusations of infringement.
  3   See, e.g., Arkema Inc. v. Honeywell Int’l, Inc., 706 F.3d 1351, 1357 (Fed.Cir.2013)
  4   (holding that it is not “necessary that a patent holder make specific accusations” of
  5   infringement against a declaratory judgment plaintiff).
  6         Under MedImmune, a substantial controversy sufficient to provide
  7   jurisdiction for a patent declaratory judgment claim of noninfringement can exist
  8   even where the declaratory judgment plaintiff is still licensed. Id. at 767-68, 777.
  9   It logically follows that a controversy is even more immediate where a licensee no
 10   longer has the benefit of a long-existing license because the licensor has purported
 11   to terminate that needed license. As the Federal Circuit has explained:
 12                In the context of conduct prior to the existence of a license,
                   declaratory judgment jurisdiction generally will not arise
 13                merely on the basis that a party learns of the existence of a
                   patent owned by another or even perceives such a patent to pose
 14                a risk of infringement, without some affirmative act by the
                   patentee. But Article III jurisdiction may be met where the
 15                patentee takes a position that puts the declaratory judgment
                   plaintiff in the position of either pursuing arguably illegal
 16                behavior or abandoning that which he claims a right to do.
 17   SanDisk Corp. v. STMicroelectronics, Inc., 480 F.3d 1372, 1380-81 (Fed. Cir.
 18   2007). The Federal Circuit has exercised declaratory judgment jurisdiction, for
 19   example, where a patentee has suggested that a licensee’s supplier is unlicensed.
 20   ABB Inc. v. Cooper Indus., LLC, 635 F.3d 1345, 1346-49 (Fed. Cir. 2011).
 21   B.    Motion To Dismiss For Failure To State A Claim
 22         The defendant bears the burden of proving that a plaintiff has failed to state a
 23   claim. E.g., Anderson v. Fishback, No. 05-cv-0729, 2009 WL 2423327, at *2 (E.D.
 24   Cal. Aug. 6, 2009); Hedges v. U.S., 404 F.3d 744, 750 (3d. Cir. 2005); Bangura v.
 25   Hansen, 434 F.3d 487, 498 (6th Cir. 2006). “Federal Rule of Civil Procedure
 26   8(a)(2) ‘requires only a short and plain statement of the claim showing that the
 27   pleader is entitled to relief, in order to give the defendant fair notice of what the ...
 28   claim is and the grounds upon which it rests.’” Bell Atl. Corp. v Twombly, 550 U.S.

                                                -6-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 12 of 32 Page ID
                                  #:2612


  1   544, 555 (2007). A complaint meets the liberal pleading standard of Rule 8(a)(2)
  2   and will survive a motion to dismiss under Rule 12(b)(6) if it provides enough
  3   supporting facts to render plausible plaintiff’s claim for relief. See, e.g., id. at 556-
  4   57 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
  5         A claim is facially plausible when a plaintiff has pleaded “factual content that
  6   allows the court to draw a reasonable inference that the defendant is liable for the
  7   misconduct alleged.” Iqbal, 556 U.S. 662, 678. “When there are well-pleaded
  8   factual allegations, a court should assume their veracity and then determine whether
  9   they plausibly give rise to an entitlement to relief.” Id. at 679. Further, where the
 10   facts pleaded could give rise to multiple inferences, all reasonable inferences should
 11   be drawn in favor of the plaintiff. See In re Bill of Lading Transmission &
 12   Processing Sys. Patent Litig., 681 F.3d 1323, 1340 (Fed. Cir. 2012) (“Nothing in
 13   Twombly or its progeny allows a court to choose among competing inferences as
 14   long as there are sufficient facts alleged to render the non-movant’s asserted
 15   inferences plausible.”).
 16         This pleading standard does not require detailed factual allegations; Rule 8
 17   “simply calls for enough facts to raise a reasonable expectation that discovery will
 18   reveal evidence” in support of the claims alleged. Twombly, 550 U.S. at 556.
 19   Further, the plausibility standard is “context-specific” and recognizes that limited
 20   direct evidence of facts may be available before discovery. See, e.g., Iqbal, 556
 21   U.S. at 679 (“Determining whether a complaint states a plausible claim for relief
 22   will, as the Court of Appeals observed, be a context-specific task that requires the
 23   reviewing court to draw on its judicial experience and common sense.”).
 24                                         ARGUMENT
 25   A.    MACOM’s Fifth Claim For Relief Properly States A Claim for
            Declaratory Judgment That M                          oducts Do Not
 26         Infringe The Nitronex Patents
 27         MACOM’s Fifth Claim for Relief seeks a declaratory judgment that
 28   MACOM’s GaN-on-Si RF products do not infringe the Nitronex Patents because

                                               -7-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 13 of 32 Page ID
                                  #:2613


  1
  2
  3
  4                                [FAC ¶¶147-150, 216-17.]
  5         Americas moves to dismiss MACOM’s declaratory judgment claim on the
  6   ground that there is no “actual [patent] controversy” between MACOM and
  7   Americas over MACOM’s right to practice the Nitronex Patents because
  8
  9
 10
 11                      [Mot. at 11:15-28, 14:11-28.] As explained below, Americas’
 12   Motion should be denied because it: (i) applies an “express accusation of
 13   infringement” standard that was overruled by the Supreme Court nearly a decade
 14   ago; (ii) ignores that MACOM seeks a declaration that its GaN-on-Si products do
 15   not infringe the Nitronex Patents                              not based on whether
 16   the products technically infringe any of the Nitronex Patents; and (iii) disregards
 17   the express and detailed allegations in MACOM’s Complaint setting forth the real,
 18   immediate controversy regarding MACOM’s rights under the Nitronex Patents.
 19         Americas also argues that MACOM’s claim must be dismissed in part (not
 20   whole) because, even though MACOM’s Complaint identifies by both category and
 21   part number twenty-nine specific MACOM GaN-on-Si RF products, MACOM has
 22   supposedly failed to provide fair notice of the products at issue. The information
 23   that MACOM provided in its Complaint more than satisfies the jurisdictional
 24   requirements, so this argument should be rejected as well.
 25         1.     Infineon’s Termination
 26                        Has Created An Active And Immediate Infringement
                   Controversy Between MACOM And Infineon
 27         To begin, it is undisputed by Americas (and indisputable as a matter of law)
 28

                                              -8-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                              MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 14 of 32 Page ID
                                  #:2614


  1   that there is federal subject matter jurisdiction for MACOM’s declaratory
  2   judgement claim that its GaN-on-Si products do not infringe the Nitronex Patents
  3                                         See ABB, 635 F.3d at 1349-52. In ABB, the
  4   Federal Circuit overturned a dismissal for lack of jurisdiction in a case where the
  5   sole basis for a noninfringement declaratory judgment claim                 was that
  6   the plaintiff was licensed. Id. The Federal Circuit specifically rejected an argument
  7   that this type of declaratory judgment claim raised only a state law defense (i.e.,
  8   license) and concluded that federal jurisdiction is proper in these circumstances. Id.
  9   at 1350 (“Even if the only issue in that suit would be a state law defense, subject
 10   matter jurisdiction does not depend on whether a federal law issue will be the crux
 11   of the case but instead whether federal patent law creates the cause of action.”).
 12         It also undisputed and indisputable by Americas (at least for purposes of this
 13   motion to dismiss) that:
 14         • Nitronex pioneered the use of GaN-on-Si for high-frequency RF devices
              and developed a significant patent portfolio based on its innovations.
 15
              [FAC ¶¶51-63.]
 16
            • The Nitronex Patents claim technology foundational to effective GaN-on-
 17           Si devices, including RF devices. [Id.]
 18         • In 2010, Nitronex sold the Nitronex Patents to IR,
 19                                                  [Id. ¶¶74-96.]
 20         • MACOM acquired its GaN-on-Si RF business by purchasing Nitronex,
 21           the original assignee of the patents at issue. [Id. ¶¶99-105.]
 22         • MACOM acquired Nitronex to: “provide MACOM with access to
              Nitronex’s fundamental and innovative GaN-on-Si technologies for use in
 23           RF applications; …
 24
                                                       and ensure that its GaN-on-Si RF
 25             products would never be the subject of infringement allegations under the
 26             Nitronex Patents.” [Id. ¶210.]
 27         •
                                                                                         [Id.
 28

                                              -9-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                              MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 15 of 32 Page ID
                                  #:2615


  1             ¶¶3, 151-52.]
            • Infineon has purported to terminate MACOM’s license t
  2
                                [Id. ¶¶4-5, 141-154.]
  3
            • MACOM continues to design, market, and sell GaN-on-Si RF products
  4           and considers these products to be of the highest importance for the
              company’s growth. [Id. at ¶¶151-154.]
  5
  6         These “facts alleged, under all the circumstances, show that there is a
  7   substantial controversy, between parties having adverse legal interests, of sufficient
  8   immediacy and reality to warrant issuance of a declaratory judgment.”
  9   MedImmune, 549 U.S. at 127; see ABB, 635 F.3d 1346-47.
 10         Americas nevertheless argues that there is no actual controversy here
 11
 12                                                  This argument fails for several reasons.
 13         First, it is settled law that an express threat of suit by the patent owner is not
 14   a necessary predicate to an infringement controversy sufficient for declaratory
 15   judgment jurisdiction. See, e.g., SanDisk, 480 F.3d at 1382-83 (reversing a
 16   dismissal for lack of subject matter jurisdiction, even where the patent owner had
 17   expressly stated that it would not sue the declaratory judgment plaintiff). Indeed,
 18   the MedImmune Court found that a sufficient controversy existed even where a
 19   declaratory judgment plaintiff was still licensed to practice the patents.
 20   MedImmune, 549 U.S. at 137. The facts here are even stronger than in MedImmnue
 21   because Infineon has gone so far as to purport to terminate
 22                              [See FAC ¶¶5, 51-63, 87, 152.] Americas’ actions create
 23   a clear controversy with respect to infringement.
 24         Second, Americas’ argument misapprehends the relief sought by MACOM.
 25   For clarity, MACOM is not seeking a declaration that its GaN-on-Si RF products
 26   do not infringe particular Nitronex Patents as a technical matter because they do not
 27   satisfy required elements of specific patent claims. Instead, as it is permitted to do,
 28   MACOM seeks a declaration that its products—as a class—do not infringe

                                              -10-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 16 of 32 Page ID
                                  #:2616


  1
  2               By terminating the license, Americas has taken the unequivocal
  3   position that                                                                   [Id.]
  4   Where MACOM asserts that
  5                                                                          as here, there is
  6   an “actual controversy” that supports federal declaratory judgment jurisdiction. See
  7   ABB, 635 F.3d at 1349-52. Thus, it does not matter that Infineon has not expressly
  8   recited “magic words” of accusation
  9                                                     . Hewlett-Packard Co. v. Acceleron
 10   LLC, 587 F.3d 1358, 1362 (Fed. Cir. 2009) (“The purpose of a declaratory
 11   judgment action cannot be defeated simply by the stratagem of a correspondence
 12   that avoids the magic words such as ‘litigation’ or ‘infringement.’”). The facts (and
 13   implications flowing from them) speak for themselves. 2
 14          Americas tries to bolster its position by contrasting its express accusation of
 15   infringement by MACOM’s GaN-on-SiC products. But, as explained in the
 16   Complaint, Infineon’s accusation of infringement by MACOM’s de minimis GaN-
 17   on-SiC sales were merely a pretext (and one that fails as a matter of law) for
 18   Infineon to terminate MACOM’s license. Those express allegations are in no way
 19   “evidence” that there is not an actual controversy between MACOM and Infineon
 20   about MACOM’s rights to use the Nitronex Patents for its GaN-on-Si RF products.
 21
      2
          It should be noted, however, that Infineon has taken the position that the
 22       “wafers” that form part of MACOM’s GaN-on-Si RF products practice the
          Nitronex Patents, and it has suggested that MACOM’s supplier needs a license
 23       (i.e., that the supplier infringes) to continue supplying those wafers. [FAC
          ¶¶114-16; ECF No. 92-4, Ex. 2.] Specifically, shortly after it acquired IR,
 24       Infineon wrote letters (using IR letterhead at the time) to both MACOM and its
          supplier, IQE, about an agreement under which IQE makes GaN-on-Si wafers
 25       for MACOM GaN-on-Si RF products. [Id.] Infineon specifically said that it
          was “concerned about the proliferation of its patented technology” and
 26       demanded that IQE provide “the legal basis upon which IQE intends to operate
          with respect to the announced wafer supply agreement with MACOM.” [Id.]
 27       Infineon thus made clear its belief that MACOM’s products, specifically at least
          the wafers used to manufacture MACOM’s GaN-on-Si RF products, practice the
 28       Nitronex Patents and require a license.
                                              -11-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 17 of 32 Page ID
                                  #:2617


  1         Americas also warns that accepting MACOM’s argument would “essentially
  2   establishing a per se rule that
  3
  4                                                                      [Mot. at 14:4-8] In
  5   a similar vein, Americas says that
  6
  7                                           [Mot. at 14:3-4]
  8         These arguments entirely disregard the facts here, which include an 11-year
  9   relationship between Nitronex (now MACOM) and IR (now Infineon) that
 10   involved:
 11
 12
 13
 14                                                                                        . The
 15   controversy here is immediate and apparent, and Americas’ attempts to
 16
 17
 18                                                            should not be credited.
 19         2.     MACOM Does Not Need To, But Has, Pleaded That It Practices
                   The Nitronex Patents
 20
            Americas next argues that even if
 21
 22
 23
 24
                  Americas’ argument is wrong as a matter of law and fact.
 25
            To begin, the law does not require that a declaratory judgment plaintiff must
 26
      “allege” (i.e., “admit”) that it products “infringe” or “practice” patents at issue in
 27
      order to establish declaratory judgment jurisdiction. Indeed, in most cases a
 28

                                              -12-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 18 of 32 Page ID
                                  #:2618


  1   declaratory judgment plaintiff argues they do not infringe as a technical matter.
  2   See, e.g., MedImmune, 549 U.S. at 123-124. Tellingly, Americas does not cite any
  3   case that requires a confession of infringement for a case to proceed, and MACOM
  4   is not aware of any. Indeed, under Americas’ logic, a company could never bring a
  5   noninfringement declaratory judgment claim because, to satisfy the jurisdictional
  6   requirements, it would have to admit in its complaint that its products infringed in
  7   order to get a declaration that they do not infringe. That makes no sense.
  8          Americas’ approach effectively tries to force a “Catch-22” on MACOM.
  9   But the Supreme Court has rejected exactly such tactics. Specifically, in
 10   MedImmune, the Supreme Court rejected similar “gotchas” created by the Federal
 11   Circuit’s Gen-Probe decision, which had required licensees who wanted to
 12   challenge the validity or coverage of licensed patents to stop paying royalties and
 13   risk treble damages to do so. See MedImmune, 549 U.S. at 134 (“The rule that a
 14   plaintiff must destroy a large building, bet the farm, or (as here) risk treble damages
 15   and the loss of 80 percent of its business before seeking a declaration of its actively
 16   contested legal rights finds no support in Article III.”). Here, as in MedImmune,
 17   MACOM should be able to adjudicate its contention that its products do not
 18   infringe
 19                                                                                     .3
 20          In any event, however, MACOM has pleaded that it practices one or more of
 21   the Nitronex Patents. [FAC ¶¶3, 7, 51-54, 56-57, 59, 61-73, 93, 98, 105, 151-154,
 22   208-217.] For example, MACOM has pleaded that: the Nitronex Patents are
 23   “foundational” and “ground-breaking” (id. ¶63), MACOM acquired Nitronex to
 24
 25                                                                           (id. ¶210),
 26
      3
          Of course, whether there is technical infringement of any specific patent can
 27       only be determined by the Court after construing the claims of that patent and
          then determining whether those claims, as construed, read on the allegedly
 28       infringing product(s).
                                              -13-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 19 of 32 Page ID
                                  #:2619


  1   Nitronex and MACOM developed and sold GaN-on-Si RF products
  2
  3
  4
  5                                                                  and “the same GaN-on-
  6   Si technologies developed by Nitronex continue to be used in MACOM’s products
  7   today” (id. ¶152).
  8         3.     The Cases Americas Cites Do Not Support Its Position
  9         Finally, Americas’ claim that “[c]ourts have dismissed declaratory judgment
 10   complaints in similar situations” to those here is belied by even the most cursory
 11   examination of the cases Americas cites. [Mot. at 12:12-13:23, 14:22-26] Indeed,
 12   none of those case involved facts even remotely similar to those here or in any way
 13   support dismissal of MACOM’s declaratory judgment claim.
 14         In Panavise Prods., Inc. v. Nat’l Prods., Inc., for instance, a maker of suction
 15   cup mounting devices that was about to debut a new “potentially infringing”
 16   product brought a patent declaratory judgment action based solely on the fact that
 17   the patent owner had in earlier years sued several other companies (not the plaintiff)
 18   on the relevant patent. 306 F. App’x 570, 571 (Fed. Cir. 2009). The Federal
 19   Circuit affirmed the district court’s dismissal of this action because: (i) the patent
 20   owner had never seen or evaluated the plaintiff’s new product, was unaware of it
 21   until it the declaratory judgment complaint was filed, and had never communicated
 22   with the plaintiff regarding its product or the patent before the plaintiff filed its
 23   complaint; and (ii) the plaintiff admitted that it had been selling a product
 24   substantially identical to the “new” product for over a decade without any
 25   accusation of infringement from the patent owner. Id. at 572-74. Americas’
 26   assertion that MACOM’s declaratory judgment claims are analogous to (and,
 27   according to Americas, even worse than) the “subjective” and “speculative”
 28   assumptions about “potential” infringement by the declaratory judgment plaintiff in

                                               -14-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 20 of 32 Page ID
                                  #:2620


  1   Panavise are not credible. Here, Infineon abruptly terminated
  2                                                                              . Moreover,
  3   given Americas’ heavy reliance on Panavise, it is telling that Americas chose not to
  4   submit a declaration disavowing either knowledge of MACOM’s GaN-on-Si RF
  5   products or any intent to enforce the Nitronex Patents against MACOM.
  6         Like Panavise, Unisense Fertilitech AS v. Auxogyn, Inc. also did not involve
  7   a license termination situation. 896 F.Supp.2d 822 (N.D. Cal. 2012). Instead, in
  8   Unisense, a company that sold a product that allowed researchers to take time-lapse
  9   images of in vitro fertilized embryos and published papers about its research
 10   findings filed a patent declaratory judgment action. Id. at 824-25. There, the
 11   defendant/patentee had sent the plaintiff several soft and vague letters advising of
 12   its patent covering methods (i.e., not apparatuses) for embryo research, stating that
 13   the research papers discussed topics relating to the patent. Id. The district court
 14   dismissed the plaintiff’s declaratory judgment claim, finding that there was no
 15   allegation that anyone (not the company nor readers of its research papers)
 16   practiced the methods disclosed by the plaintiff’s publications and/or presentations.
 17   See id. at 830 (“[W]hen no one is engaged in potentially infringing conduct, there is
 18   no controversy to support declaratory judgment jurisdiction….”). Unlike the
 19   circumstances in Unisense, the dispute between MACOM and Infineon is definite,
 20   concrete, real, and substantial:
 21           MACOM spent tens of millions of dollars developing its GaN-on-Si RF
 22   products
 23
 24
 25   [FAC ¶¶153-154.]
 26         In Excelstor Tech., Inc. v. Papst Licensing GMBH & Co., Americas cites a
 27   case that at least involves a license. No. 09-cv-2055, 2010 WL 2560481 (N.D. Cal.
 28   June 22, 2010). Specifically, a hard disk drive manufacturer had a royalty-bearing

                                             -15-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                              MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 21 of 32 Page ID
                                  #:2621


  1   license agreement with the patent owner. Id. at *1-2. There was a dispute about
  2   “double payment” of royalties for licensed sales of HDD products sold prior to the
  3   plaintiff exiting the market. The district court dismissed the action on the ground
  4   that (i) the plaintiff had exited the market and had not identified a single product it
  5   was currently then making or intended to make that would fall within the category
  6   of products covered by the license if it were in effect (id. at *4-5, 6), and (ii) the
  7   patent owner had executed and filed with the court a covenant not to sue the
  8   (ex-)licensee for patent infringement. Id. at *5-7; see also Essai, Inc. v. Delta
  9   Design, Inc., No.13-cv-02356, 2013 WL 624393, at *3 (N.D. Cal. Dec. 3, 2013)
 10   (dismissing declaratory judgment complaint where patent owner raised
 11   infringement concerns based on declaratory judgment plaintiff’s patent
 12   applications—not any specific products). In sharp contrast to Excelstor, MACOM
 13   has identified in its Complaint current GaN-on-Si RF products and explained in
 14   great detail why it has reason to fear an infringement suit by Infineon—and
 15   Infineon has provided no covenant not to sue.
 16         In sum, far from supporting Americas’ position, the sharp contrast between
 17   the facts in the cases cited by Americas—each involving blatantly-dubious grounds
 18   for “actual controversy”—and the compelling facts of this case only reinforce that
 19   MACOM’s patent declaratory judgment claim should not be dismissed.
 20         4.     MACOM’s Complaint Clearly Identifies The Products At Issue
 21         Americas’ only other argument under either Rule 12(b)(1) or 12(b)(6) for
 22   MACOM’s Fifth Claim for Relief is that this Claim must be limited to the GaN-on-
 23   Si RF products
 24
 25                                                   [Mot. at 15:14-22] Even if accepted,
 26   which it should not be, this argument would not remove the Court’s subject matter
 27   jurisdiction over MACOM’s Fifth Claim as a whole,
 28

                                               -16-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 22 of 32 Page ID
                                  #:2622


  1         Americas’ argument overlooks that MACOM seeks a noninfringement
  2   declaration commensurate
  3                      [FAC ¶216 & Prayer ¶B.]
  4
  5                [FAC ¶¶2, 87-93.]
  6         Americas also faults MACOM for supposedly
  7                                    but MACOM has provided fair notice regarding the
  8   scope of products at issue in its noninfringement claim. In Paragraph 151 of the
  9   Complaint, MACOM identifies the specific products at issue as follows: “GaN-on-
 10   Si Products, including at least the following part numbers: NPT1004D,
 11   NPT25015D, NPT35015D, NPTB00050B, NPTB00025B, NPTB00025AB,
 12   NPTB00004D, NPTB00004A, NPT35050AB, NPT25100P, NPT25100B,
 13   NPT2024, NPT2022, NPT2021, NPT2020, NPT2018, NPT2010, NPT1015B,
 14   NPT1012B, NPT1010P, NPT1010B, NPT1007B, NPA1008, NPA1007, NPA1006,
 15   NPA1003QA, MATR-GSHC03-160150, MAGx-0011086, and MAGe-102425-
 16   300.” [FAC ¶151.]
 17         In other words, MACOM has identified the products by the most specific
 18   identifiers possible. To the extent that Americas objects to the “including at least
 19   the following part numbers….” language, it has long been the case that Plaintiffs
 20   plead patent claims by listing categorical features and/or example products. See,
 21   e.g., K-Tech Telecomm’ns, Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1281-
 22   82, 1286-87 (Fec. Cir. 2013) (finding adequate an allegation that defendants
 23   infringed where accused products were identified by feature). The touchstone for
 24   adequate pleading under Rule 8 is “fair notice of what the claim is and the grounds
 25   upon which it rests.” Twombly, 550 U.S. at 555, 561 (quoting Conley v. Gibson,
 26   355 U.S. 41, 47 (1957)). MACOM has more than met this standard.
 27         Notably, the primary case cited by Americas does not support Americas’
 28   argument. Microsoft Corp. v. DataTern, 755 F.3d 899 (Fed. Cir. 2014), does not

                                             -17-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                              MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 23 of 32 Page ID
                                  #:2623


  1   address the standard for pleading a declaratory judgment claim, but rather involves
  2   the scope of a judgment that eventually issued from claims by the plaintiff that its
  3   products did not infringe for technical reasons. Indeed—just as here—the
  4   declaratory judgment plaintiff in that case recited in its complaint that its products
  5   as a whole did not infringe, and its claims were not dismissed. See id. at 910. In
  6   any case, Datatern is simply not applicable
  7                 where no technical analysis is needed for the Court to issue a
  8   declaration
  9
 10         MACOM’s Complaint both recites a clear category of products at issue—
 11                                                         —and identifies the current
 12   products within that category. These facts entirely distinguish the situation here
 13   from the other cases cited by Americas in which motions to dismiss declaratory
 14   judgement actions were granted. See Excelstor, 2010 WL 2560481, at *6 (N.D.
 15   Cal. June 22, 2010) (plaintiff did not identify any specific products that might
 16   infringe the patents at issue); Essai, 2013 WL 624393, at *3 (plaintiff failed to
 17   identify any particular products in its complaint); Wistron Corp. v. Phillip M.
 18   Adams & Associates, No. 10-cv-4458, 2011 WL 165446, at *1, *12 (N.D. Cal.
 19   April 28, 2011) (plaintiffs identified broad and generic categories of products with
 20   no example products); Xilinx, Inc. v. Invention Inv. Fund I LP, No. 11-cv-0671,
 21   2011 WL 3206686, at *6 (ND. Cal. July 27, 2011) (plaintiff’s complaint recited
 22   only a broad category of products, “integrated circuits,” and recited no specific
 23   “accused products”). Accordingly, there is no basis to dismiss any part of
 24   MACOM’s declaratory judgment claim even as to “any unidentified products.”
 25   B.    MACOM’s Complaint States A Claim That Infineon’s GaN-on-Si RF
            Activities Breached The License Agreement
 26
            In moving to dismiss MACOM’s Second Claim for Relief for breach of the
 27
      License Agreement,
 28

                                              -18-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 24 of 32 Page ID
                                  #:2624


  1                    Americas incorrectly treats MACOM’s claim as one for patent
  2   infringement. But the Complaint clearly identifies this claim as one for “Breach of
  3   Contract,” not patent infringement, and MACOM is not required to plead the
  4   elements of a patent infringement case. “In California, a cause of action for breach
  5   of contract requires proof of the following elements: (1) existence of the contract;
  6   (2) plaintiff’s performance or excuse for nonperformance; (3) defendant’s breach;
  7   and (4) damages to plaintiff as a result of the breach.” E.g., Blizzard Entm’t Inc. v.
  8   Ceiling Fan Software LLC, 28 F.Supp.3d 1006, 1017 (C.D. Cal. 2013). MACOM
  9   has alleged these elements for its Second Claim. To the extent that there may be a
 10   dispute between the parties about whether the License Agreement here should be
 11   construed to require proof of patent infringement, such a dispute about the legal
 12   interpretation of a contract is not one to be resolved within the context of a Rule
 13   12(b)(6) motion—especially so where, as here, the interpretation proffered by the
 14   moving party is against the express language of the contract.
 15         That being said, MACOM’s Complaint sufficiently pleads its Second Claim
 16   for breach of contract even applying patent infringement pleading standards, as
 17   Americas proposes doing. Specifically, MACOM’s Complaint includes facts that
 18   support a reasonable inference that
 19
 20                                 . That is all (indeed more) than MACOM is required
 21   to plead at this stage, and Infineon has not provided any basis for the Court to
 22   dismiss MACOM’s breach claim before even affording MACOM the opportunity
 23   to take discovery to substantiate its allegations.
 24         1.
 25
 26
 27
                                                                                For instance,
 28

                                              -19-         MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                  MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 25 of 32 Page ID
                                  #:2625


  1   Paragraphs 4, 8, and 155-164 of MACOM’s Complaint detail public and non-public
  2   development and marketing activities by Infineon for GaN-on-Si RF products for
  3   cellular base station applications. [FAC ¶¶8, 155-164.] MACOM’s Complaint
  4   further alleges that Infineon has gone so far as to promise samples of GaN-on-Si RF
  5   base station products to customers. [Id. at ¶¶157-158.]
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23                                                                                         .
 24         Americas does not cite a single case holding that it is correct to impose the
 25   traditional requirements for a patent infringement claim on MACOM’s contract
 26   claim, and Americas ignores without discussion
 27
 28                    Such an approach should be rejected. The Court should find that

                                            -20-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                              MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 26 of 32 Page ID
                                  #:2626


  1   MACOM has adequately pleaded its Second Claim for Relief.
  2         2.
  3
            Even if Americas were right that MACOM has to allege (before discovery
  4
      has even begun) traditional patent infringement
  5
  6
  7
            In support of its breach claim, MACOM alleges in detail the foundational
  8
      nature of the Nitronex Patents and, more generally, the GaN-on-Si technology
  9
      developed by Nitronex—much of which is claimed in the Nitronex Patents. [See
 10
      FAC ¶¶1, 3, 51-63, 84-85, 152.] Foundational patents, of course, are understood in
 11
      the industry to be those with inventions that must be used in order to produce
 12
      products in a particular field (or, at the very least, would be very difficult to design
 13
      around). See, e.g., Mark A. Lemley, Patenting Nanotechnology, 58 Stan L. Rev.
 14
      601, 613-614 (2005) (discussing ten “foundational patents” directed to “basic
 15
      building blocks in nanotechnology”).
 16
            MACOM further pleaded that
 17
 18
                                                     that Infineon acquired IR to gain
 19
      access to its GaN-on-Si technologies                                    (id. ¶¶107-108),
 20
      that Infineon attempted to renegotiate the License Agreement
 21
 22
 23
 24
 25
 26
 27
 28

                                              -21-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 27 of 32 Page ID
                                  #:2627


  1
  2
  3
  4
  5                                                  MACOM is confident discovery will
  6   bear this out.
  7         The suspicious sequence of events for Infineon’s purported termination, as
  8   described in detail in the Complaint, further reinforce
  9                                                                                         For
 10   instance, Infineon repeatedly tried to pressure MACOM
 11
 12                                                        Infineon’s purported termination
 13   of the License Agreement then came close in time, actually just before, it became
 14   public that Infineon was developing and marketing these GaN-on-Si RF products.
 15   [Id. ¶¶5-8, 141-164.] This carefully-alleged sequence of events—where Infineon a)
 16   threatens MACOM’s GaN-on-Si wafer supplier with thinly-veiled infringement
 17   allegations, b) tries to get MACOM to                             c) fails, d) comes up
 18   with a pretext to terminate the license, e) sends a notice of termination, and f) then,
 19   immediately afterward, publicly announces its development of products
 20
 21                                   There would not otherwise be any reason for
 22   Infineon to have behaved as it has.
 23         Given the circumstances, MACOM has more than met its burden, to the
 24   extent MACOM is required to do so,
 25
 26   Whether a complaint states a claim under Rule 12(b)(6) is context-specific, and
 27   MACOM has met its burden here, particularly given that samples of Infineon’s
 28   GaN-on-Si RF products are not yet publicly available for a full technical

                                              -22-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 28 of 32 Page ID
                                  #:2628


  1   infringement analysis. See Iqbal, 556 U.S. at 679 (ruling on a motion to dismiss is
  2   a context-specific task).
  3         Americas also faults MACOM for not
  4                                                                   , but MACOM need
  5   not make allegations at this level of detail in its Complaint to adequately state a
  6   claim that Infineon has breached the License Agreement. See, e.g., Esoterix
  7   Genetic Labs. LLC v. Qiagen, Inc., 133 F.Supp.3d, 350, 363 (D. Mass. 2015) (“[I]t
  8   is easy to see how breaching such a promise [not to offer commercial use products
  9   before regulatory approval] potentially gives rise to a free-standing contract claim,
 10   regardless of whether or not such a breach would also support a claim for patent
 11   infringement.”). Under the circumstances (i.e. where MACOM has been unable to
 12   obtain Infineon GaN-on-Si RF products), MACOM can hardly be expected to plead
 13   that Infineon’s products embody one or more particular Nitronex Patents. Instead,
 14   MACOM has recited facts sufficient to plausibly allege that it is entitled to relief.
 15         3.     Americas’ “Offer To Sell” Arguments Ignore Both The Stage Of
 16                This Case And The Allegations Of MACOM’s Complaint
            MACOM’s Complaint, fairly read, alleges that
 17
                                                              to the extent that such
 18
      allegations are necessary (and they are not). [FAC at, e.g., ¶¶4, 8, 112, 147-148,
 19
      155-164, 184.] For example, MACOM has pleaded that Americas has been
 20
      promoting and marketing GaN-on-Si RF products for cellular base station
 21
      applications, has promised samples, and has publicly announced that it has GaN-
 22
      on-Si RF products in development for 5G applications. [FAC ¶¶157, 160.]
 23
      MACOM also explicitly recites that
 24
 25
                  [Id. ¶¶164, 184.]
 26
            Americas’ argument on the “offer to sell” issue boils down to the contention
 27
      that MACOM has not adequately alleged an offer to sell products
 28

                                              -23-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 29 of 32 Page ID
                                  #:2629


  1                     because MACOM: (1) did not expressly parrot that Infineon
  2   “offered to sell” those products; and (2) did not allege that Infineon negotiated a
  3   price for such products. But that is not required at the pleading stage. Twombly,
  4   550 U.S. at 555. Requiring MACOM to “show” detailed facts to support an offer to
  5   sell, including negotiation of a price term is inappropriate so early in the case,
  6   before discovery has even commenced.
  7          Unsurprisingly, therefore, the single case Americas cites in support of its
  8   position, MEMC Elec. Materials, Inc. v. Mitsubishi Materials Silicon Corp., 420
  9   F.3d 1369 (Fed. Cir. 2005), was not decided at the pleading stage. Instead it was
 10   decided at the summary judgment stage, after discovery—and actually involved the
 11   reversal of a decision granting summary judgment, which is hardly supportive of
 12   Americas’ argument. Id. at 1371-72.
 13
 14
 15
                                                     4
 16
 17          4.
 18
             Americas again tries to overlay the requirements of a patent infringement
 19
      claim on MACOM’s breach claim when it argues that
 20
 21
 22
 23
 24
 25
      4
 26       To the extent, however, that the Court finds that MACOM is required to more
          expressly plead that Americas “offered to sell” GaN-on-Si RF products or
 27       otherwise practices the Nitronex Patents (or that these activities took place in a
          jurisdiction where there are issued Nitronex Patents, for that matter), MACOM
 28       should be granted leave to amend its Complaint.
                                              -24-       MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                                MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 30 of 32 Page ID
                                  #:2630


  1
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12                         MACOM pleaded sufficient facts on this point. Americas is a
 13   U.S. company with facilities and activities in the U.S. [FAC ¶¶13, 17.] Infineon’s
 14   marketing activities, including issuing an announcement of its product development
 15   and forthcoming introduction of GaN-on-Si RF base station products on its “.com”
 16   website, satisfy any territoriality pleading requirement.
 17                                        CONCLUSION
 18          For the reasons explained above, Americas’ motion should be denied.
 19
 20
 21   DATED: September 7, 2016             PERKINS COIE LLP
 22
                                           By:/s/ Amanda Tessar
 23                                           Lara J. Dueppen, Bar No. 259075
                                              LDueppen@perkinscoie.com
 24                                           PERKINS COIE LLP
                                              1888 Century Park East, Suite 1700
 25                                           Los Angeles, CA 90067-1721
 26
      5
 27       It is also settled law that activity outside the U.S. that induces infringement of a
          U.S. patent can give rise to liability under U.S. patent law. See Wing Shing
 28       Products, Ltd. v. Simatalex Man. Co., 479 F.Supp.2d 388, 410 (S.D.N.Y. 2007).
                                              -25-      MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                               MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 31 of 32 Page ID
                                  #:2631

                                          Telephone: 310.788.9900
  1                                       Facsimile: 310.788.3399
  2                                       Jonathan M. James (pro hac vice)
                                          JJames@perkinscoie.com
  3                                       PERKINS COIE LLP
                                          2901 North Central Avenue, Suite 2000
  4                                       Phoenix, AZ 85012-2788
                                          Telephone: 602.351.8000
  5                                       Facsimile: 602.648.7000
  6                                       Amanda Tessar (pro hac vice)
                                          ATessar@perkinscoie.com
  7                                       Elizabeth Banzhoff (pro hac vice)
                                          EBanzhoff @perkinscoie.com
  8                                       PERKINS COIE LLP
                                          1900 Sixteenth Street, Suite 1400
  9                                       Denver, CO 80202-5255
                                          Telephone: 303.291.2300
 10                                       Facsimile: 303.291.2400
 11                                       Philip A. Morin, Bar No. 256864
                                          PMorin@perkinscoie.com
 12                                       PERKINS COIE LLP
                                          11988 El Camino Real, Suite 350
 13                                       San Diego, CA 92130-2594
                                          Telephone: 858.720.5700
 14                                       Facsimile: 858.720.5799
 15                                       Daniel T. Keese, Bar No. 280683
                                          DKeese@perkinscoie.com
 16                                       PERKINS COIE LLP
                                          1120 N.W. Couch Street, 10th Floor
 17                                       Portland, OR 97209-4128
                                          Telephone: 503.727.2000
 18                                       Facsimile: 503.727.2222
 19                                       Morgan Chu (State Bar No. 70446)
                                          (mchu@irell.com)
 20                                       Joseph M. Lipner (State Bar No. 155735)
                                          (jlipner@irell.com)
 21                                       Ellisen Turner (State Bar No. 224842)
                                          (eturner@irell.com)
 22                                       IRELL & MANELLA LLP
                                          1800 Avenue of the Stars, Suite 900
 23                                       Los Angeles, CA 90067-4276
                                          Telephone: 310-277-1010
 24                                       Facsimile: 310-203-7199
 25                                       Nima Hefazi (State Bar No. 272816)
                                          (nhefazi@irell.com)
 26                                       IRELL & MANELLA LLP
                                          840 Newport Center Drive, Suite 400
 27                                       Newport Beach, CA 92660
                                          Telephone: 949-760-0991
 28                                       Facsimile: 949-760-5200
                                         -26-     MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                         MOTION TO DISMISS
Case 2:16-cv-02859-CAS-GJS Document 106-2 Filed 09/07/16 Page 32 of 32 Page ID
                                  #:2632


  1                                       ATTORNEYS FOR PLAINTIFFS
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                         -27-    MACOM’S OPPOSITION TO INFINEON AMERICAS’
                                                                        MOTION TO DISMISS
